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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND
     __________________________________________
     WAI FENG TRADING CO. LTD.,                 :
       and EFF MANUFACTORY CO. LTD.             :
             Plaintiffs                         :
     v.                                         :
                                                :  CA No. 13-033-S
     QUICK FITTING, INC.                        :
             Defendant                          :
     __________________________________________:
                                                :
     QUICK FITTING, INC.                        :
             Plaintiff                          :
     v.                                         :
                                                :  CA No. 13-056-S
     WAI FENG TRADING CO. LTD.,                 :
     EASTERN FOUNDRY & FITTINGS, INC.,          :
     EASTERN FOUNDRY AND FITTINGS, LLC,         :
     NINGBO EFF MANUFACTORY CO, LTD.,           :
     f/k/a NINGBO W&F MANUFACTORY CO., LTD,:
     WAI MAO COMPANY, LTD.,                     :
     CIXI CITY WAI FENG BALL VALVE              :
         COMPANY, LTD.,                         :
     W&F MANUFACTURING                          :
     CHI YAM “ANDREW” YUNG                      :
             Defendants                         :
     __________________________________________:

                               QUICK FITTING, INC.’S AMENDED
                           RULE 56 STATEMENT OF UNDISPUTED FACTS

              Quick Fitting, Inc. (“Quick Fitting”) submits this Amended Statement of Undisputed

     Facts in Support of its renewed Motion for Summary Judgement, filed contemporaneously

     herewith.1

              1.       Quick Fitting, Inc. (“Quick Fitting”) is a corporation organized and existing

     under the laws of the State of Rhode Island, with its principal place of business at 30 Plan



     1
               This Statement is amended to correct certain omissions discovered after the filings of September 15,
     2017, and in light of the recent filings, including new affidavits, proffered by the Yungs and/or the Yung
     Entities.

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     Way, Warwick, Rhode Island. Quick Fitting’s Second Amended Complaint (“SAC”), 13-056

     Dkt. 135, ¶1.

            2.       Quick Fitting’s Second Amended Complaint attached three exhibits – three

     written agreements between various of the parties. For ease of reference herein, a true and

     accurate copy of the Second Amended Complaint alone, without attachments, is submitted as

     Exhibit A. True and accurate copies of the attachments to the complaint are submitted as

     Exhibit A-1, Exhibit A-2, and Exhibit A-3, respectively.

            3.       Quick Fitting designs, manufactures, and distributes so-called “push-fit” or

     “push-to-connect” plumbing fittings and valves. SAC, (Exhibit A), ¶¶ 2-3.

            4.       “Push-fit” plumbing technology allows for the permanent connection of

     pipes, fittings, and valves made of copper, polyvinyl chloride (PVC), and other materials

     simply by pushing them together by hand, without the need for soldering or other heat or

     chemical applications, hence the name “push-fit” or “push-to-connect”. Id.

            5.       Quick Fitting owns and has applied for multiple United States patents on the

     technology contained in its products, and strives to protect as trade secrets various design

     features, materials, sourcing, and methods of manufacture of its push-fit products. Id.

            6.       Chi Yam “Andrew” Yung and Chi Pang “Jacky” Yung are brothers who both

     reside in Ontario, Canada. (They shall be referred to collectively herein as “the Yungs”.)

            7.       The Yungs, their close family relatives, or various combinations thereof, are

     the principal owners, officers, directors, and/or managers of several entities that are involved

     in the manufacture and supply of plumbing parts and components. SAC, (Exhibit A), ¶¶ 5-9.

            8.       The companies owned by the Yungs shall be referred to herein as the “Yung

     Entities,” and include the following:



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           Eastern Foundry & Fittings, Inc. (“EFF Inc.”), a Canadian corporate entity organized

            and existing under the laws of the Province of Ontario, Canada, with a principal place

            of business at 10 Brodie Drive, Richmond Hill, Ontario, Canada, presently co-owned

            by Andrew Yung and Jacky Yung;

           Wai Feng Trading Co. Ltd. (“Wai Feng Trading”), which is or was a Canadian

            corporate entity organized and existing under the laws of the Province of Ontario,

            Canada, with a principal place of business at 10 Brodie Drive, Richmond Hill,

            Ontario, owned by Andrew Yung and Jacky Yung’s mother, but then transferred to

            Jacky Yung in August, 2014, during the course of this litigation;

           Wai Mao Company, Ltd. (“Wai Mao”), a Canadian entity organized and existing

            under the laws of Ontario, Canada, with a principal place of business located at 10

            Brodie Drive, Richmond Hill, Ontario, presently owned by Jacky Yung;

           Eastern Foundry & Fitting, LLC (“EFF LLC”), a limited liability company organized

            and existing under the laws of the Commonwealth of Massachusetts, with a principal

            place of business at 76 Production Road, Walpole, Massachusetts, owned in equal

            shares by Andrew Yung, Jacky Yung, and Ronald Roberts of Cumberland Rhode

            Island; and

           EFF Manufactory Co., Ltd. (“EFF Manufactory”), a Chinese corporate entity

            organized and existing under the laws of the People’s Republic of China with a

            principal place of business at Long Shan Industrial District, 208 Long Zhen Road,

            Cixi City, Ningbo, Zhejiang, China, presently owned by Andrew Yung.

     See SAC (Exhibit A), ¶¶ 11, 20, 26, 29, 37.

            9.      Prior to associating with Quick Fitting, neither the Yungs nor the Yung


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     Entities had been engaged in the design, manufacture, or supply of push-fit plumbing

     products. See SAC (Exhibit A) ¶¶ 87-88, and combined Answer to Second Amended

     Complaint, 13-056 Dkt. 56, ¶¶ 87-88. See Deposition of EFF Manufactory Co. Ltd. (by

     Andrew Yung), October 20, 2015 (“EFF Mfg. Depo. 10/20/15”), relevant portions of which

     are attached hereto as Exhibit B; at p. 22. See Deposition of Wai Feng Trading (by Jacky

     Yung), January 29, 2016 (“WFT Depo. 1/29/16”), relevant portions of which are attached

     hereto as Exhibit C, p. 71.

            10.      In February 2010, Quick Fitting entered into a written agreement (the “2010

     Wai Feng License and Supply Agreement”). The 2010 Wai Feng License and Supply

     Agreement dated February 16, 2010 was the first attachment to the SAC; a true and accurate

     copy is attached as Exhibit A-1 herein. See Exhibit A-1, p.12, ¶¶ 60-62.

            11.      Andrew Yung executed the 2010 Wai Feng License and Supply Agreement on

     behalf of “W&F Manufacturing and its affiliates”:




     Exhibit A-1, p.8; Deposition of EFF Manufactory Co. Ltd. (by Andrew Yung), November 7,

     2014, (“EFF Mfg. Depo. 11/7/14”), relevant portions of which are attached hereto as Exhibit

     D, pp. 40-43.

            12.      The Yungs describe “W&F Manufacturing” as a trade name; Andrew Yung

     states that it was the name by which they formerly referred to the manufacturing facility that

     later would become EFF Manufactory. EFF Mfg. Depo. 10/20/15 (Exhibit B) p. 17-18.

            13.      The first paragraph of the 2010 Wai Feng License and Supply Agreement


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     states that W&F Manufacturing is “comprised of three divisions - Wai Mao Company Ltd.,

     Wai Feng Trading Company, Ltd., and Cixi City Wai Feng Ball Valve Company Ltd.,

     Toronto Canada”:




     See Exhibit A-1, p.1.

            14.     The 2010 Wai Feng License and Supply Agreement identifies Wai Feng

     Trading as a “division” of “W&F Manufacturing.” Id.

            15.     The 2010 Wai Feng License and Supply Agreement also identifies another of

     the Yung Entities, Wai Mao, as another division of W&F Manufacturing. Id.

            16.     The entity identified as the third division of W&F Manufacturing in the 2010

     Wai Feng License and Supply Agreement, is Cixi City Wai Feng Ball Valve Company, Ltd.

     (“Wai Feng Ball Valve”). Id.

            17.     Wai Feng Ball Valve was a Chinese manufacturer of plumbing parts and

     supplies that was owned by Andrew Yung and Jacky Yung’s uncle, Johnny Liu. Andrew

     Yung Jurisdiction Deposition, November 6, 2014 (“Andrew Yung Jur. Depo 11/6/14”),

     relevant portions of which are attached as Exhibit E hereto, p. 18. See also Exhibit A, ¶¶ 46-

     48.

            18.     Wai Feng Ball Valve was a supplier of plumbing pieces to Wai Mao and Wai

     Feng Trading. EFF Mfg. Depo. 11/7/14 (Exhibit D), p. 22.

            19.     Wai Feng Ball Valve was an affiliate of W&F Manufacturing at the time of

     the 2010 Wai Feng License and Supply Agreement. Deposition of Wai Feng Trading (by

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     Jacky Yung), November 6, 2014, (“WFT Depo. 11/6/14”), relevant portions of which are

     attached hereto as Exhibit F, p. 19. Andrew Yung described Wai Feng Ball Valve as a

     division of W&F Manufacturing. Andrew Yung Jur. Depo 11/6/14 (Exhibit E), p. 16-17. In

     2014 Andrew Yung and Jacky Yung both answered that there were no other affiliates at the

     time of the 2010 Wai Feng License and Supply Agreement. EFF Mfg. Depo. 11/7/14

     (Exhibit D), p. 43; WFT Depo. 11/6/14 (Exhibit F), p. 19.

             20.    The Yung Entities had identified Wai Feng Ball Valve on their Internet

     website as “the production division of W&F Manufacturing…geared to produce brass ball

     valves…plumbing and fitting accessories.” See waifeng.com website screen captures, true

     and accurate copies of which are attached as Exhibit G hereto; Andrew Yung Jur. Depo.

     11/6/14 (Exhibit E), pp. 23-25, and pages attached as exhibit 6 thereto; SAC (Exhibit A) at

     ¶198.

             21.    Andrew Yung now takes the position that he had no authority to execute the

     2010 Wai Feng License and Supply Agreement on behalf of Wai Feng Ball Valve. Andrew

     Yung Jur. Depo. 11/7/14 (Exhibit E), at pp. 17-18. He did not take this position or inform

     Quick Fitting of this position until after the commencement of this litigation.

             22.    The Yungs claimed in interrogatory answers in November 2013 that Wai Feng

     Ball Valve was then “no longer in business.” See Wai Feng Trading Answers to Quick

     Fittings, Inc.’s First Interrogatories, November 6, 2013, relevant portions of which are

     submitted as Exhibit H, Answer No. 5(f).

             23.    Evidence adduced in discovery demonstrates that the Yung Entities continued

     to purchase and receive products from Wai Feng Ball Valve through at least 2010. See

     Emails involving Andrew Yung and Vivian Wang dated July 2010 discussing product orders



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     to Wai Feng Ball Valve in mid-2010, true and accurate copies of which are attached as

     Exhibit I hereto.

            24.     Following execution of the 2010 Wai Feng License and Supply Agreement,

     Quick Fitting provided proprietary plans, designs, drawings, and assistance to enable the

     W&F Manufacturing entities to develop and refine the manufacture of push-fit plumbing

     products using Quick Fitting’s proprietary technology. See Deposition of EFF Manufactory

     (by Andrew Yung), January 22, 2016 (“EFF Mfg. Depo. 1/22/16”), relevant portions of

     which are attached hereto as Exhibit J, p. 134; See Exhibit B, p. 28. See SAC (Exhibit A),

     ¶68, and defendants’ Answer thereto, 13-056 Dkt. 139, ¶68.

            25.     Quick Fitting for a time during 2010 and early 2011 issued purchase orders to

     W&F Manufacturing. Some were addressed to “W&F Manufacturing ,” to “Ningbo W&F

     Mfg.,” or simply to “W&F”. True and accurate copies of all of Quick Fitting’s purchase

     orders to the Yung entities are submitted as Exhibit K.

            26.     Quick Fitting grew dissatisfied due to product quality and service issues, and

     wished to disassociate itself from the W&F Manufacturing operation, including Wai Feng

     Trading and Wai Feng Ball Valve. Exhibit A, p.14, ¶ 75.

            27.     The Yungs informed Quick Fitting in early 2011 that they were establishing a

     new manufacturing facility in China that would operate and be managed separately and in

     different facilities than the former operation involving the “W&F Manufacturing” entities.

     Exhibit A, at ¶ 76.

            28.     Instead of the “W&F Manufacturing” operation, the Yungs informed Quick

     Fitting that their new entities would be branded under variants of the name “Eastern Foundry

     and Fittings” or “EFF”. Exhibit A, at ¶ 76. One of the new companies was “Eastern Foundry



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     and Fittings, Inc.” or “EFF Inc.”

            29.     The Yungs informed Quick Fitting that the production/manufacturing facility

     would thereafter be EFF Manufactory. The Purchase Orders (attached as Exhibit K) indicate

     that Quick Fitting stopped addressing Purchase Orders to “WF,’ “Ningbo W&F Mfg.,” or

     “W&F Manufacturing” as of March 30, 2011. All purchase orders thereafter were issued to

     EFF Manufactory as “Vendor,” as each PO reflects. See Exhibit K.

            30.     Email from Quick Fitting to Andrew Yung on March 31, 2011 and distributed

     internally reflects David Crompton’s instructions to his staff to “change the name and

     information on file for W & F…” to that as had been supplied for EFF Manufactory. See

     Exhibit L attached hereto.

            31.     Internet domain name registration records indicate that the Yungs registered a

     new domain name, eff-fitting.com, on May 4, 2011, and transitioned from use of their old

     domain, waifeng.com, thereafter. A true and accurate copy of the Whois registrations record

     for eff-fitting.com is attached as Exhibit M hereto. Andrew Yung testified that EFF

     Manufacturing never used the earlier waifeng.com domain name. EFF Mfg. Depo. 11/7/14

     (Exhibit D), p. 34.

            32.     Quick Fitting’s principals travelled to China and inspected the new EFF

     Manufactory facilities, which they observed were different from those they knew as the

     “W&F Manufacturing”/Wai Feng Ball Valve manufacturing facilities. SAC (Exhibit A), at

     ¶76.

            33.     Based on the establishment of the new Eastern Foundry and Fittings or “EFF”

     operations, Quick Fitting in April 2011 asked the Yungs to execute new nondisclosure and

     non-competition agreements naming what they understood were the new entities. SAC



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     (Exhibit A), at ¶ 77. Quick Fitting first sent the Yungs a written nondisclosure agreement

     (the “2011 Non-Disclosure Agreement”) (Exhibit A-2).

            34.     The 2011 Non-Disclosure Agreement was a form used by Quick Fitting on

     which the name of the other party was blank. Someone – it is still not clear who – hand-

     wrote the name “Eastern Foundry & Fitting LLC” and the Yungs’ Toronto business address,

     10 Brodie Drive, Richmond Hill, Ontario, in the blank space on the first page of the 2011

     Non-Disclosure Agreement. Exhibit A-2 submitted herewith is a true and accurate copy of

     the 2011 Non-Disclosure Agreement, which was the second attachment to Quick Fitting’s

     Second Amended Complaint. See Exhibit A, ¶¶ 79-80, and Exhibit A-2.

            35.     Andrew Yung executed the 2011 Non-Disclosure Agreement dated May 4,

     2011 (Exhibit A-2, p. 4), and returned it to Quick Fitting.

            36.     The Yungs claimed after the litigation started that “Eastern Foundry & Fitting

     LLC,” the name hand-written onto the 2011 Non-Disclosure Agreement was not intended to

     be Eastern Foundry and Fittings, LLC (EFF LLC), the Yung’s related Walpole,

     Massachusetts operation.

            37.     Andrew Yung has stated he believes the Non-Disclosure Agreement was

     supposed to have named and included EFF Inc. Exhibit A, at ¶ 81. That company, EFF Inc.,

     however, was not incorporated until October 25, 2011, nearly six months after execution of

     the 2011 Non-Disclosure Agreement. A true and accurate copy of the Canadian Corporation

     Profile Report for EFF Inc. is submitted as Exhibit N.

            38.     Quick Fitting also sent the Yungs a separate written agreement titled License

     Agreement with Terms of Confidentiality, Non-Disclosure, and Non-Competition to be

     executed on behalf of EFF Manufactory, the new manufacturing facility as it had been



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   identified to Quick Fitting (the “2011 EFF Manufactory License Agreement”). See SAC

   (Exhibit A), ¶84.

          39.     Andrew Yung executed the 2011 EFF Manufactory License Agreement and

   returned it to Quick Fitting. Exhibit A-3 submitted herewith is a true and accurate copy of the

   2011 EFF Manufactory License Agreement, which was also the third attachment to Quick

   Fitting’s Second Amended Complaint. See Exhibit A-3; See Exhibit A, ¶ 85.

          40.     The 2011 EFF Manufactory License Agreement identifies EFF Manufactory

   as “Supplier.” EFF Manufactory is the only party other than Quick Fitting referred to in the

   2011 EFF Manufactory License Agreement. Exhibit A-3.

          41.     Wai Feng Trading was not a signatory to either the 2011 Non-Disclosure

   Agreement or to the 2011 EFF Manufactory Agreement. See Exhibit A-2, Exhibit A-3, and

   Exhibit H, Answer No. 13.

          42.     Wai Feng Trading ceased operations at least as early as August 2011.

   Deposition of Wai Feng Trading (by Jacky Yung), November 6, 2014, (“WFT Depo.

   11/6/14”), relevant portions of which are attached hereto as Exhibit F, p. 28.

          43.     The Yungs’ new company in Toronto, EFF Inc., assumed the business of Wai

   Feng Trading. EFF Inc.’s Supplemental Answers and Responses to Quick Fitting’s

   Interrogatories and Requests, February 6, 2015, relevant portions of which are attached

   hereto as Exhibit O, Amended Answer 8(f).

          44.     Wai Feng Trading’s thirteen employees became employees of Wai Mao and

   performed services for both Wai Mao and EFF Inc. WFT Depo. 11/6/14 (Exhibit F), p. 30.

   Wai Feng Trading’s office equipment was transferred to EFF Inc. Id. at p. 44.

          45.     By letter to “Customers and Partners” dated February 12, 2012, the Yungs



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   announced that they had “changed our company name to ‘Eastern Foundry & Fittings Inc.’

   (‘EFF’) from Wai Feng Trading Co. Ltd.” and that their new domain name would be

   www.eff-fitting.com. The reason given was that “all our products come from our new plant

   ‘Ningbo EFF Manufactory’,” and had “since 2010.” The announcement went on to state all

   “obligations and rights will be assumed by to [sic] Eastern Foundry & Fittings Inc.” A true

   and accurate copy of the letter is attached as Exhibit P hereto. See Exhibit P.

          46.     The products for which some of the Yung Entities claim Quick Fitting owes

   money were ordered by way of six (6) separate purchase orders from Quick Fitting to EFF

   Manufactory.

          47.     True and accurate copies of the six Quick Fitting purchase orders ordering the

   products for which Quick Fitting allegedly owes money (the “Disputed Purchase Orders” or

   “Disputed PO’s”) are submitted as Exhibit Q. Identified by “Date” and “P.O. No.,” they are

   as follows:

                                      Date            P.O. No.
                                May 20, 2011          457103
                                June 27, 2011         457127
                                Jan. 31, 2012         457436
                                Feb. 9, 2012          457439
                                Feb. 9, 2012          457440
                                May 17, 2012          457481


          48.     Each of the Disputed Purchase Orders is addressed to EFF Manufactory as

   “Vendor,” at its address in China, as each Purchase Order reflects:




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   See Exhibit Q.

           49.      Wai Feng and EFF Manufactory claim that Quick Fitting owes money billed

   on ten invoices that arose out of the Disputed Purchase Orders. True and accurate copies of

   the ten invoices upon which the Yungs commenced suit (the “Disputed Invoices”) are

   submitted as Exhibit R, the first page of which is a summary page generated by the Yung

   Entities at the inception of the litigation.

           50.      The Disputed Invoices at Exhibit R correspond to products Quick Fitting

   ordered from EFF Manufactory on the Disputed Purchase Orders attached at Exhibit Q.

           51.      There is not a one-to-one correlation between each Disputed Purchase Order

   and each Disputed Invoice, however. Typically, a Purchase Order would cover a greater

   number of different SKUs or a greater number of pieces of an SKU, or both. Stated another

   way, an invoice did not necessarily reflect all the products ordered in the Purchase Order

   cited on it.

           52.      Invoices typically did not include all product contained in any particular

   Purchase Order because invoices would be generated and sent to Quick Fitting as EFF

   Manufactory finished or partially completed a production run of one or more SKUs in an

   order and shipped them out.

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          53.       EFF Manufactory would ship the push-fit products ordered by Quick Fitting

   directly from China to Quick Fitting. Deposition of Wai Feng Trading (by Jacky Yung),

   January 28, 2016, (“WFT Depo. 1/28/16”), relevant portions of which are attached hereto as

   Exhibit S, p. 51. See the Yung Entities’ Fourth Amended Complaint, 13-033 Dkt. 80, ¶ 7.

          54.       Each shipment from EFF Manufactory to Quick Fitting was accompanied by

   an invoice. Yung Entities’ Fourth Amended Complaint, ¶ 8.

          55.       It was Quick Fitting’s procedure to count and inspect products receive from

   manufacturers. Quick Fitting followed this procedure and issued payments for many of the

   products ordered and received from EFF Manufactory. Fourth Amended Complaint, 13-033

   Dkt. 80, ¶ 8.

          56.       Quick Fitting found serious problems with and withheld payments for some of

   the products received from EFF Manufactory. See Exhibit A, pp. 17-21, ¶¶ 96, 99-118.

          57.       Though the Disputed Purchase Orders at issue (Exhibit Q) are all to EFF

   Manufactory, the invoices at issue in this litigation all purport to be from Wai Feng Trading.

   See Exhibit R.

          58.       Asked if he knew why, Jacky Yung, the president and owner of Wai Feng

   Trading, testified there was an agreement that Wai Feng Trading would issue the invoices for

   products Quick Fitting would order from EFF Manufactory. Asked to explain who had

   “agreed” to that arrangement, Jacky Yung answered “Andrew [his brother] and Dave

   Crompton [the president of Quick Fitting].” WFT Depo. 1/28/16 (Exhibit S) p. 46.

          59.       Jacky Yung testified, however, that he did not know anything more about that

   purported agreement:

                    16   Q. Are you aware that Quick Fitting was ordering
                    17   products by submitting purchase orders to EFF

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                  18       Manufactory?
                  19       A. Yes.
                  20       Q. How did it come about then that Wai Feng
                  21       Trading was issuing the invoices?
                  22       A. It was always agreed on that Wai Feng
                  23       would issue the invoices.
                  24       Q. Who was in that agreement?
                  25       A. Andrew and Dave Crompton.
                           ….
                  1        Q. Okay. But, why wouldn't EFF Manufactory
                  2        invoice Quick Fitting --
                  3        MR. LYONS: Objection.
                  4        Q. -- for the products it was ordering?
                  5        A. I don't know.

   Exhibit S, pp. 46-47.

          60.     Andrew Yung, the president and owner of EFF Manufactory, whom Jacky

   Yung said was a party to the described-agreement regarding billing, did not know of any

   such agreement with Quick Fitting and attributed the arrangement to accountants:

                  10       What I'm trying to ask is why purchase
                  11       orders -- why the invoices were from Wai Feng Trading
                  12       Company when the purchase orders were actually to EFF
                  13       Manufactory in China?
                  14       MR. LYONS: Objection. Scope.
                  15       THE DEPONENT: Okay. In my email
                  16       inbox it is always under Ningbo EFF -- okay. As far
                  17       as the purchase orders go from Quick Fitting it's
                  18       always written this way, Ningbo EFF Manufactory Co.,
                  19       Ltd. It always goes to my email inbox. As far as
                  20       what is on the other one document why it's written
                  21       there as Wai Feng Trading Co., Ltd., I don't know why.
                  22       This is all accounting, like, matters. So I'm not too
                  23       sure how they would handle that.
                  24       BY MR. NOEL:
                  25       Q. Was it your understanding that Quick Fitting
                  1        was to be paying Wai Feng Trading Company?
                  2        MR. LYONS: Objection. Scope.
                  3        THE DEPONENT: Yes, that's what I
                  4        understand.
                  5        BY MR. NOEL:
                  6        Q. But you don't know why it was set up this
                  7        way?

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                  8     A. That I don't know.

   EFF Mfg. Depo. 10/20/15 (Exhibit B), p. 84-85.

           61.    The first of the Disputed Invoices is dated October 5, 2011, months after

   execution of the 2011 EFF Manufactory Agreement and after Wai Feng Trading had stopped

   conducting business. See Exhibit R, p. 2.

           62.    The balance allegedly remaining on that invoice is $9,928.78. Exhibit R, pp.

   1, 2.

           63.    The next Disputed Invoice came more than six months later - April 27, 2012 –

   11 months after the 2011 EFF Manufactory Agreement and months and after Wai Feng

   Trading had ceased operations. Exhibit R, p 3. The balance allegedly remaining on that

   invoice is $3,262.42. See Exhibit R, pp. 1, 3.

           64.    The other eight Disputed Invoices, all purportedly from Wai Feng Trading,

   are dated over a five-week period between May 17, 2012 and June 20, 2012 (Exhibit R, pp.

   4-11), a year after execution of the 2011 EFF Manufactory Agreement between Quick Fitting

   and EFF Manufactory and months and after Wai Feng Trading had ceased operations in

   August 2011.

           65.    Wai Feng Trading and EFF Inc. filed suit against Quick Fitting over the

   Disputed Invoices in Ontario, Canada on August 2, 2012 (the “Canadian Lawsuit”), just six

   weeks after the final invoice.

           66.    Wai Feng Trading and EFF Inc. both claimed in the Canadian Lawsuit that

   they were Canadian entities and that Quick Fitting owed the amount of $477,661.47.

           67.    Wai Feng Trading and EFF Inc. asserted in the Canadian Lawsuit that their

   claim was “with respect to a contract for the sale of goods made in Ontario, where the breach



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   of contract has occurred in Ontario and where the damage has been sustained in Ontario….”

            68.      The claim in the Canadian Lawsuit that Quick Fitting owed $477,661.47 was

   not accurate.

            69.      The claims made in the Canadian Lawsuit that the suit concerned a contract

   for the sale of goods made in Ontario, and that the breach of contract occurred in Ontario,

   were not accurate.

            70.      Wai Feng Trading and EFF Inc. eventually dismissed the Canadian Lawsuit.

            71.      Wai Feng Trading and EFF Inc. filed an action in this court in January 2013

   (identified as CA No. 13-033), again both stating that they were Canadian entities. 2 See 13-

   033 Dkt. 1.

            72.      A month later, Wai Feng Trading and EFF Inc. moved to amend their

   complaint in 13-033, stating that EFF Inc. was in fact a Chinese, not a Canadian, corporation.

   See 13-033 Dkt. 5.

            73.      Nine months later, in November 2013, Wai Feng Trading and EFF Inc. moved

   to substitute the Chinese entity, EFF Manufactory, for the Canadian entity, EFF Inc., as one

   of the two plaintiffs in 13-033. See CA No. 13-033 Dkt. 17.

            74.      In December 2010, during the course of the business with Quick Fitting but

   before any payments were due, a Yung Entity employee provided payment instructions to

   Quick Fitting. The payment instructions were in an email from janice@waifeng.com dated

   December 16, 2010, a true and accurate copy of which is attached as Exhibit T hereto. Quick

   Fitting was directed to make wire payments to:

                     “Switt Code: HKBCCATT, 10-012-023388-070, Transit# 016”


   2
            Quick Fitting had been preparing its initial complaint and filed it (CA No. 13-056 Dkt. 1) a few days
   later.

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   See Exhibit T.

          75.       Unknown to Quick Fitting, the Yungs claim that they, EFF Manufactory and

   Wai Feng Trading had an agreement between them whereupon Wai Feng Trading would pay

   EFF Manufactory for the products EFF Manufactory would produce and ship to Quick

   Fitting. WFT Depo. 1/28/16 (Exhibit S), pp. 50-51.

          76.       Neither Wai Feng Trading nor EFF Inc. possessed an import-export license

   permitting the purchase and shipping of products from EFF Manufactory in China. For

   reasons still unclear to Quick Fitting, it was another Yung Entity, Wai Mao, that had the

   required import-export license. WFT Depo. 1/28/16 (Exhibit S) pp. 102-103.

          77.       Unknown to Quick Fitting at the time, the Yungs claim it was intended by

   them, therefore, that Wai Mao would be the Yung Entity to order the product from EFF

   Manufactory, and the Yungs in fact used Wai Mao and its import-export license to order

   products from EFF Manufactory in China. WFT Depo. 1/28/16 (Exhibit S) p.67; Deposition

   of Wai Mao (by Jacky Yung), January 29, 2016, (“Wai Mao Depo. 1/29/16”), relevant

   portions of which are attached hereto as Exhibit U, p. 18. Deposition of Wai Mao Co. (by

   Jacky Yung), March 17, 2016, (“Wai Mao Depo. 3/17/16”), relevant portions of which are

   attached hereto as Exhibit V, p. 64.

          78.       Both Wai Mao and Wai Feng Trading made payments to EFF Manufactory

   for the products on the Disputed Invoices and for other products manufactured by EFF

   Manufactory.

          79.       EFF Manufactory has been paid in full for all products contained on the

   Disputed Invoices.

          80.       EFF Manufactory admits in Interrogatory Answers that it is owed no money



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   by Quick Fitting for the Disputed Invoices, and Quick Fitting owes no money to EFF

   Manufactory:

                  Quick Fitting does not owe money to EFF China for the unpaid
                  invoices at issue in this litigation

   EFF Manufactory Co. Ltd.’s Amended Answers to Quick Fitting, Inc.’s First Set of

   Interrogatories, December 30, 2013, relevant portions of which are attached hereto as

   Exhibit W, Amended Answer No. 17. The term “EFF China” was used by the Yungs’

   counsel for a time to refer to EFF Manufactory.

          81.     At deposition, EFF Manufactory, through its president and owner, Andrew

   Yung, confirmed that Quick Fitting owed EFF Manufacturing no money:

                  18     Q. …Am I correct that EFF Manufactory does
                  19     not assert any damages against Quick Fitting?
                  20     MR. LYONS: Objection.
                  21     A. I don't know.
                  22     Q. But you have no knowledge that Quick Fitting owes
                  23     EFF Manufactory any money; correct?
                  24     A. No, I don't know.
                         ….
                  14     Q. Aside from [legal counsel]
                  15     has anyone told you that Quick Fitting
                  16     owes EFF Manufactory some money?
                  17     A. No.
                  18     Q. Neither Jimmy, your father, or Jacky, your brother,
                  19     has said that; correct?
                  20     A. No.

   Deposition of EFF Manufactory (by Andrew Yung), April 30, 2015 (“EFF Mfg. Depo.

   4/30/15”), relevant portions of which are attached hereto as Exhibit X, pp. 25-26.

          82.     Both Wai Feng Trading and Wai Mao later admitted that EFF Manufactory

   had been paid in full for all products that were identified on and covered by the Disputed

   Invoices. WFT Depo. 1/28/16 (Exhibit S) p. 52; Wai Mao Depo. 3/17/16 (Exhibit V), p. 74.

          83.     The operative pleadings in Civil Action No. 13-033 (“13-033”) is the Fourth


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   Amended Complaint of Wai Feng Trading and EFF Manufactory (13-033 Dkt. 80, Nov. 25,

   2014), and Quick Fitting’s Answer to Fourth Amended Complaint and Amended

   Counterclaim (13-033 Dkt. 81), filed on December 9, 2014.



    Date: November 17, 2017                       QUICK FITTING, INC.

                                                  By Its Attorneys,

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                                 CERTIFICATE OF SERVICE

          I hereby certify that on November 17, 2017, I served a copy of the foregoing via the
   Court’s Electronic Case Filing System, upon:

    Thomas W. Lyons, Esq.
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                                                       /s/ Thomas R. Noel




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